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                                                U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York
                                                    The Jacob K. Javits Federal Building
                                                    26 Federal Plaza, 37th Floor
                                                    New York, New York 10278


                                                    February 14, 2025


BY ECF
The Honorable Dale E. Ho
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Eric Adams, 24 Cr. 556 (DEH)

Dear Judge Ho:

       It is respectfully requested that the Court notice the withdrawal of Celia V. Cohen, Andrew
Rohrbach, Derek Wikstrom, and Hagan Scotten as counsel for the United States in the
above-captioned matter.


                                             Respectfully Submitted,

                                                        /s/
                                             Celia V. Cohen
                                             Andrew Rohrbach
                                             Assistant United States Attorneys
                                             Southern District of New York


cc:    Counsel of Record (by ECF)
